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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                 )
ABREU SANTIAGO                                   )
                                                 )
        Plaintiff,                               )
                                                 )       Case No. 1:23-cv-17075
v.                                               )
                                                         Hon.
                                                 )
KBP FOODS, LLC., an Illinois limited
                                                 )
liability company,
                                                 )
        Defendant.                               )
                                                 )
                                                 )

     PLAINTIFF’S COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiff Abreu Santiago, through his undersigned counsel, states the following in support

of his Complaint for Declaratory and Injunctive Relief to remedy discrimination by Defendant

KBP Foods, LLC. based on Plaintiff’s disability in violation of Title III of the Americans with

Disabilities Act of 1990, 42 U.S.C. §§ 12181 et seq. (“ADA”), and its implementing regulation,

28 C.F.R. Part 36:

                                  JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this action pursuant to 42 U.S.C. § 2000a-3(a), 28

U.S.C. § 1331, and 28 U.S.C. § 1343.

        2.      Venue is appropriate in this district under 28 U.S.C. § 1391 because the acts of

discrimination occurred in this district, and the property that is the subject of this action is in this

district.

                                              PARTIES

        3.      Plaintiff is a resident of Palm Beach County, Florida.




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        4.      Defendant KBP Foods, LLC. is a limited liability company with its registered

office located at 801 Adlai Stevenson Dr., Springfield, IL 62703.

        5.      Upon information and belief, Defendant KBP Foods, LLC. owns and/or manages

“KFC” whose location qualifies as a “Facility” as defined in 28 C.F.R. § 36.104.

                                   FACTUAL ALLEGATIONS

        6.      Plaintiff incorporates the above paragraphs by reference.

        7.      Plaintiff is an individual with numerous disabilities, including moderately severe

multiple sclerosis and is also paraplegic. These conditions cause sudden onsets of severe pain,

require Plaintiff to use a wheelchair, and substantially limit Plaintiff’s major life activities.

        8.      Plaintiff suffered from these disabilities during his visit (and prior to instituting

this action) to “KFC.”

        9.      Plaintiff’s disabilities are considered a qualified disability under 28 C.F.R.

36.105.

        10.     Plaintiff’s condition requires mobility aids to assist his movement at all times.

        11.     Plaintiff regularly travels to the Hoffman Estates, IL area to visit friends and shop.

Plaintiff visited Hoffman Estates, IL on September 25, 2023, and plans to return in August 2024.

        12.     Plaintiff shops and dines at restaurants when he is in the area.

        13.     Plaintiff does not always dine at the same restaurant, but prefers to shop around

for the best places with regard to menu, prices, location, and ease of access to accommodate his

disabilities.

        14.     Plaintiff regularly experiences barriers to access relating to his disability at

restaurants due to his frequent travels.




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       15.     While many restaurants advertise that they are accessible, Plaintiff still regularly

encounters barriers to access.

       16.     This requires Plaintiff to visit restaurants that offer the menu, pricing and location

he desires prior to dining to ensure that he can access the Facility in a manner equal to non-

disabled individuals.

       17.     Despite advertising that KFC is accessible, Plaintiff encountered barriers to access

at the Hoffman Estates Facility, which denied him full and equal access and enjoyment of the

services, goods, and amenities when he visited on September 25, 2023.

       18.     Plaintiff is currently deterred from considering the Facility as an option for dining

on his future planned visits due to the barriers and discriminatory effects of Defendant’s policies

and procedures at the Facility.

       19.     Plaintiff is deterred from returning due to the barriers and discriminatory effects

of Defendant’s policies and procedures at the Facility.

       20.     Plaintiff returns to every Facility after being notified of remediation of the

discriminatory conditions to verify compliance with the ADA and regularly monitors the status

of remediation.

                             COUNT I
        REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

       21.     Plaintiff incorporates the above paragraphs by reference.

       22.     This Court is empowered to issue a declaratory judgment regarding: (1)

Defendant’s violation of 42 U.S.C. § 12182; (2) Defendant’s duty to comply with the provisions

of 42 U.S.C. § 12181 et al; (3) Defendant’s duty to remove architectural barriers at the Facility;

and (4) Plaintiff’s right to be free from discrimination due to his disability. 28 U.S.C. § 2201.




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        23.       Plaintiff seeks an order declaring that he was discriminated against on the basis of

his disability.

                                COUNT II
          REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

        24.       Plaintiff incorporates the above paragraphs by reference.

        25.       The Hoffman Estates Facility is a place of public accommodation covered by

Title III of the ADA because it is operated by a private entity, its operations affect commerce,

and it is a restaurant. 42 U.S.C. § 12181(7); see 28 C.F.R. § 36.104.

        26.       Defendant is a public accommodation covered by Title III of the ADA because it

owns, leases (or leases to), or operates a place of public accommodation. See 42 U.S.C. §§

12181(7), 12182(a); 28 C.F.R. § 36.104.

        27.       Architectural barriers exist which deny Plaintiff full and equal access to the goods

and services Defendant offers to non-disabled individuals.

        28.       Plaintiff personally encountered architectural barriers on September 25, 2023 at

the Hoffman Estates Facility located at 1030 N. Roselle Rd., Hoffman Estates, IL 60169 that

affected his disabilities:

              a. Men’s Restroom

                         i. Failing to provide the proper insulation or protection for plumbing or

                             other sharp or abrasive objects under a sink or countertop in violation

                             of sections 606 and 606.5 of the Standards, which causes Plaintiff

                             makes it unsafe for Plaintiff to use.

                         ii. Providing a gate or door with a continuous opening pressure of greater

                             than 5 lbs. exceeding the limits for a person with a disability in

                             violation of sections 404, 404.1, 404.2, 404.2.9 and 309.4 of the



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                           Standards, which causes Plaintiff difficulty in opening the gate or

                           door.

                       iii. Failing to provide the required clear floor space around a water closet

                           without any obstructing or non-essential convenience elements or

                           fixtures placed in this space in violation of sections 4.22.3, 603,

                           603.2.3, 604, 604.3, 604.3.1, 604.3.2 and 604.8, 604.8.1.1 of the

                           Standards,    which     causes   Plaintiff   unnecessary   difficulty    in

                           maneuvering the water closet.

                       iv. Failing to provide the water closet in the required proper position

                           relative to the side wall or partition in violation of sections 604 and

                           604.2 of the Standards, which prevents Plaintiff from using the

                           sidewall or partition for the support he needs getting onto and off of

                           the toilet.

                       v. Failing to provide flush controls located on the open side of the water

                           closet in violation of sections 309, 309.4, 604 and 604.6 of the

                           Standards, which causes Plaintiff difficulty in flushing the toilet and

                           strains his injuries.

                       vi. Providing grab bars of improper horizontal length or spacing as

                           required along the rear wall in violation of sections 604, 604.5, 604.5.1

                           and 604.5.2 of the Standards, which prevents Plaintiff from using the

                           grab bars for the support he needs getting onto and off of the toilet.

       29.     These barriers cause Plaintiff difficulty in safely using each element of the

Facility, requiring extra care due to safety concerns and fear of aggravating his injuries.




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        30.    Defendant has failed to remove some or all of the barriers and violations at the

Facility.

        31.    Defendant’s failure to remove these architectural barriers denies Plaintiff full and

equal access to the Facility in violation of 42 U.S.C. § 12182(b)(2)(A)(iv).

        32.    Defendant’s failure to modify its policies, practices, or procedures to train its staff

to identify architectural barriers and reasonably modify its services creates an environment where

individuals with disabilities are not provided goods and services in the most integrated setting

possible is discriminatory. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv), and 28 C.F.R. § 36.302.

        33.    It would be readily achievable for Defendant to remove all of the barriers at the

Facility.

        34.    Failing to remove barriers to access where it is readily achievable is

discrimination against individuals with disabilities. 42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv),

and 28 C.F.R. § 36.304.

                                     RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

        A.     declare that the Facility identified in this Complaint is in violation of the ADA;

        B.     declare that the Facility identified in this Complaint is in violation of the 2010

ADA Standards for Accessible Design;

        C.     enter an Order requiring Defendant to make the Facility accessible to and usable

by individuals with disabilities to the full extent required by Title III of the ADA and the 2010

ADA Standards for Accessible Design;

        D.     enter an Order directing Defendant to evaluate and neutralize its policies,

practices, and procedures towards persons with disabilities;




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       E.      award Plaintiff attorney fees, costs (including, but not limited to court costs and

expert fees) and other expenses of this litigation pursuant to 42 U.S.C. § 12205; and

       F.      grant any other such relief as the Court deems just and proper.

                                                     Respectfully submitted,

                                                     CASS LAW GROUP, P.C.

                                                    /s/ Angela C. Spears
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                                                    Counsel for Plaintiff
Dated: December 26, 2023




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